Case 2:04-Cv-02576-.]PI\/|-tmp Document 51 Filed 06/16/05 Page 1 of 2 Page|D 50

 

 

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IN THE UNITED STATES DISTRICT COURT r d ` D“(J'
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUF_J l 6 PM |, 30
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MARK BAGWELL ) - ~ \)F" vf\F, s-iL~.M)'|"flS
Plaintiff, )
v. ) No. 04-2576-MiP
)
MEMPHIS-SHELBY COUNTY )
AIRPORT AUTHORITY, LARRY COX )
And MIKE HILL )
Defendants. )
)

 

ORDER TO UNOPPOSED MOTION TO
EXTENI) TIME FOR EXPERT DISCLOSURE

IT APPEARS TO THIS COURT for good cause shown, that the deadline for Plaintiff’s
Unopposed Motion to Extend Tirne for Expert Disclosure should be granted pursuant to Federa£
Rule ofCivz'l Procedure 16(1)).

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Plaintiff`s
Unopposed Motion to Extend time for Expert Disclosure be granted and the time for Plaintiff’S
expert Witness disclosure be extended to July 8, 2005, and time for Defendant’s expert witness

disclosure be extended to August 8, 2005.

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SO ORDERED THIS 1 3 DAY OF JUNE, 2005

Mi,__

Jud'ée l

Th"e document entered on the docket sheet 'm codinpiiance
\mth Ru|e 58 and/or 79{a) FRCP on ’ \)

 

DISTRIT OURT - WESTERN ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CV-02576 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

